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 1    Greg D. Andres
      Antonio J. Perez-Marques
 2    Gina Cora
 3    Craig T. Cagney
      Luca Marzorati
 4      (admitted pro hac vice)
      DAVIS POLK & WARDWELL LLP
 5    450 Lexington Avenue
      New York, New York 10017
 6
      Telephone: (212) 450-4000
 7    Facsimile: (212) 701-5800
      Email: greg.andres@davispolk.com
 8             antonio.perez@davispolk.com
               gina.cora@davispolk.com
 9             craig.cagney@davispolk.com
               luca.marzorati@davispolk.com
10
      Micah G. Block (SBN 270712)
11
      DAVIS POLK & WARDWELL LLP
12    900 Middlefield Road, Suite 200
      Redwood City, California 94063
13    Telephone: (650) 752-2000
      Facsimile: (650) 752-2111
14    Email: micah.block@davispolk.com
15   Attorneys for Plaintiffs WhatsApp LLC and Meta
     Platforms, Inc.
16
                                 UNITED STATES DISTRICT COURT
17
                         FOR THE NORTHERN DISTRICT OF CALIFORNIA
18
                                        OAKLAND DIVISION
19
      WHATSAPP LLC, and                 )
20                                      )             Case No. 4:19-cv-07123-PJH
      META PLATFORMS INC.,
                                        )
21                                      )             PLAINTIFFS’ NOTICE OF FILING
                      Plaintiffs,       )             PUBLIC VERSIONS OF MATERIAL
22                                      )             FILED IN CONNECTION WITH
             v.                         )             SUMMARY JUDGMENT AND
23                                      )             SANCTIONS BRIEFINGS
24    NSO GROUP TECHNOLOGIES LIMITED )
      and Q CYBER TECHNOLOGIES LIMITED, )             Pretrial Conference Date: April 10, 2025
                                        )             Time: 2:00 p.m.
25                                      )             Ctrm: 3
                      Defendants.       )             Judge: Hon. Phyllis J. Hamilton
26                                      )             Trial Date: April 28, 2025
                                        )
27                                      )
28
         Case 4:19-cv-07123-PJH          Document 679         Filed 04/04/25     Page 2 of 5




 1   TO ALL PARTIES AND THEIR COUNSEL OF RECORD:

 2             Pursuant to the Court’s order granting in part and denying in part the parties’ omnibus motions

 3   to seal (Dkt. No. 633) (the “Omnibus Sealing Order”), Plaintiffs WhatsApp LLC and Meta Platforms,

 4   Inc. (“Plaintiffs”), by and through their counsel, hereby file as attachments to this Notice of Filing

 5   public versions of documents previously filed conditionally under seal by Plaintiffs in connection

 6   with certain of their summary judgment and sanctions briefings,1 as outlined in the below table.

 7
                                 Document                                            Dkt. Nos.
 8
         Declaration of Micah G. Block filed in Support of                             399-3
 9       Plaintiffs’ Motion for Summary Judgment
10       Exhibit 3 to the Declaration of Micah G. Block filed in                       400-2
11       Support of Plaintiffs’ Motion for Summary Judgment

12       Exhibit 4 to the Declaration of Micah G. Block filed in                       400-2
         Support of Plaintiffs’ Motion for Summary Judgment
13
         Exhibit 12 to the Declaration of Micah G. Block filed in                  399-4; 400-2
14       Support of Plaintiffs’ Motion for Summary Judgment
15       Exhibit 16 to the Declaration of Micah G. Block filed in                      399-4
16       Support of Plaintiffs’ Motion for Summary Judgment

17       Exhibit 18 to the Declaration of Micah G. Block filed in                      400-2
         Support of Plaintiffs’ Motion for Summary Judgment
18
         Exhibit 19 to the Declaration of Micah G. Block filed in                      400-2
19       Support of Plaintiffs’ Motion for Summary Judgment
20       Exhibit 26 to the Declaration of Micah G. Block filed in                  399-4; 400-2
21       Support of Plaintiffs’ Motion for Summary Judgment

22       Exhibit 27 to the Declaration of Micah G. Block filed in                      399-4
         Support of Plaintiffs’ Motion for Summary Judgment
23
         Exhibit 28 to the Declaration of Micah G. Block filed in                      400-2
24       Support of Plaintiffs’ Motion for Summary Judgment
25
     1
26         Plaintiffs have refrained from publicly refiling documents subject to Defendants NSO Group
           Technologies Limited and Q Cyber Technologies Limited’s pending challenge to the Omnibus
27         Sealing Order, as well as documents that will be included in Defendants’ forthcoming revised
           omnibus sealing motion.
28
                                                          1
     PLAINTIFFS’ NOTICE OF FILING PUBLIC VERSIONS OF MATERIAL FILED IN CONNECTION WITH SUMMARY JUDGMENT
     AND SANCTIONS BRIEFINGS - CASE NO. 4:19-CV-07123-PJH
       Case 4:19-cv-07123-PJH          Document 679       Filed 04/04/25      Page 3 of 5




 1                            Document                                           Dkt. Nos.

 2    Exhibit 31 to the Declaration of Micah G. Block filed in                     399-4
      Support of Plaintiffs’ Motion for Summary Judgment
 3
      Exhibit 34 to the Declaration of Micah G. Block filed in                  399-4; 400-2
 4
      Support of Plaintiffs’ Motion for Summary Judgment
 5
      Declaration of Meghan Andre filed in Support of                              399-5
 6    Plaintiffs’ Motion for Summary Judgment

 7    Exhibit A to the Declaration of Meghan Andre filed in                     399-6; 400-3
      Support of Plaintiffs’ Motion for Summary Judgment
 8
      Declaration of Micah G. Block filed in Opposition to                         418-4
 9
      Defendants’ Motion for Summary Judgment
10
      Exhibit 2 to the Declaration of Micah G. Block filed in                      420-3
11    Opposition to Defendants’ Motion for Summary Judgment

12    Exhibit 3 to the Declaration of Micah G. Block filed in                      420-3
      Opposition to Defendants’ Motion for Summary Judgment
13
      Exhibit 15 to the Declaration of Micah G. Block filed in                     420-3
14
      Opposition to Defendants’ Motion for Summary Judgment
15
      Exhibit 19 to the Declaration of Micah G. Block filed in                  418-5; 420-3
16    Opposition to Defendants’ Motion for Summary Judgment

17    Exhibit 20 to the Declaration of Micah G. Block filed in                  418-5; 420-3
      Opposition to Defendants’ Motion for Summary Judgment
18
      Exhibit 21 to the Declaration of Micah G. Block filed in                  418-5; 420-3
19
      Opposition to Defendants’ Motion for Summary Judgment
20
      Exhibit 23 to the Declaration of Micah G. Block filed in                     418-5
21    Opposition to Defendants’ Motion for Summary Judgment

22    Exhibit 25 to the Declaration of Micah G. Block filed in                     418-5
      Opposition to Defendants’ Motion for Summary Judgment
23
      Exhibit 28 to the Declaration of Micah G. Block filed in                     418-5
24
      Opposition to Defendants’ Motion for Summary Judgment
25
      Exhibit 35 to the Declaration of Micah G. Block filed in                     418-5
26    Opposition to Defendants’ Motion for Summary Judgment

27    Exhibit 37 to the Declaration of Micah G. Block filed in                     418-5
      Opposition to Defendants’ Motion for Summary Judgment
28
                                                      2
     PLAINTIFFS’ NOTICE OF FILING PUBLIC VERSIONS OF MATERIAL FILED IN CONNECTION WITH SUMMARY JUDGMENT
     AND SANCTIONS BRIEFINGS - CASE NO. 4:19-CV-07123-PJH
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 1                            Document                                           Dkt. Nos.

 2    Exhibit 38 to the Declaration of Micah G. Block filed in                     418-5
      Opposition to Defendants’ Motion for Summary Judgment
 3
      Exhibit 39 to the Declaration of Micah G. Block filed in                     418-5
 4
      Opposition to Defendants’ Motion for Summary Judgment
 5
      Exhibit 40 to the Declaration of Micah G. Block filed in                     420-3
 6    Opposition to Defendants’ Motion for Summary Judgment

 7    Exhibit 41 to the Declaration of Micah G. Block filed in                     420-3
      Opposition to Defendants’ Motion for Summary Judgment
 8
      Exhibit 42 to the Declaration of Micah G. Block filed in                     420-3
 9
      Opposition to Defendants’ Motion for Summary Judgment
10
      Exhibit B to the Declaration of Dana Trexler filed in                     418-6; 420-4
11    Opposition to Defendants’ Motion for Summary Judgment

12    Exhibit C to the Declaration of Dana Trexler filed in                     418-6; 420-4
      Opposition to Defendants’ Motion for Summary Judgment
13
      Exhibit 40 to the Declaration of Micah G. Block filed in                     436-4
14
      Support of Plaintiffs’ Summary Judgment Reply
15
      Exhibit B to the Declaration of Micah G. Block filed in                      405-4
16    Support of Plaintiffs’ Motion for Sanctions

17    Exhibit C to the Declaration of Micah G. Block filed in                      405-4
      Support of Plaintiffs’ Motion for Sanctions
18
      Exhibit H to the Declaration of Micah G. Block filed in                      405-4
19
      Support of Plaintiffs’ Motion for Sanctions
20
      Exhibit J to the Declaration of Micah G. Block filed in                      405-4
21    Support of Plaintiffs’ Motion for Sanctions

22    Exhibit K to the Declaration of Micah G. Block filed in                      405-4
      Support of Plaintiffs’ Motion for Sanctions
23

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     AND SANCTIONS BRIEFINGS - CASE NO. 4:19-CV-07123-PJH
       Case 4:19-cv-07123-PJH          Document 679         Filed 04/04/25    Page 5 of 5




 1    Dated: April 4, 2025                        Respectfully Submitted,

 2                                                DAVIS POLK & WARDWELL LLP
 3
                                                  By: /s/ Luca Marzorati
 4                                                    Greg D. Andres
 5                                                    Antonio J. Perez-Marques
                                                      Gina Cora
 6                                                    Craig T. Cagney
                                                      Luca Marzorati
 7                                                      (admitted pro hac vice)
                                                      DAVIS POLK & WARDWELL LLP
 8
                                                      450 Lexington Avenue
 9                                                    New York, New York 10017
                                                      Telephone: (212) 450-4000
10                                                    Facsimile: (212) 701-5800
                                                      Email: greg.andres@davispolk.com
11                                                            antonio.perez@davispolk.com
                                                              gina.cora@davispolk.com
12
                                                             craig.cagney@davispolk.com
13                                                           luca.marzorati@davispolk.com

14                                                        Micah G. Block (SBN 270712)
                                                          DAVIS POLK & WARDWELL LLP
15                                                        900 Middlefield Road
                                                          Redwood City, California 94063
16
                                                          Telephone: (650) 752-2000
17                                                        Facsimile: (650) 752-2111
                                                          Email: micah.block@davispolk.com
18
                                                          Attorneys for Plaintiffs WhatsApp LLC and
19                                                        Meta Platforms, Inc.
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     PLAINTIFFS’ NOTICE OF FILING PUBLIC VERSIONS OF MATERIAL FILED IN CONNECTION WITH SUMMARY JUDGMENT
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